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IN THE UNITED STATES DISTRICT COURT SEP 03 2024
FOR THE NORTHERN DISTRICT OF OKLAHOMA

Heidi D. Campbell, Clerk
U.S. DISTRICT COURT

Ryan K. Smith
PLAINTIFF, Pro-Se

OhT- 441 JbR- MIS

VS.
Case no.
STEVE KUNZWEILER,
DISTRICT ATTORNEY
FOR TULSA COUNTY,
AND STATE OF OKLAHOMA;
DEFENDANT(s) Et al.
CIVIL RIGHTS COMPLAINT PURSUANT TO 42 U.S.C.§1983
=
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| |
=
° Ryan K. Smith
Ke D.O.C.# 643298
° Lexington Correctional Center
a P.O. Box 260
5 Lexington, Oklahoma.73051
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= ow
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JURISDICTION AND VENUE

Comes now the plaintiff, Ryan K. Smith #643298, a state prisoner pro-se and as a poor person and
submits this Civi! Rights Complaint against the above-Defendant(s). The plaintiff alleges and
states:

1. The cause of this action is brought under 42 U.S.C. § 1983 with this court having jurisdiction
under 28 U.S.C. §§ 1343. Jurisdiction is also asserted under the Federal Declaratory Judgment act,
28 U.S.C. § 2201, et seq. Additionally, the Supreme Court determined in Skinner vs. Switzer that
a § 1983 action is the proper vehicle for a suit challenging a state DNA testing statute.
Skinner v. Switzer,562 U.S. 521.

2. This action does not involve diversity jurisdiction.

3. Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the events or omissions
giving rise to Plaintiff’s claims occurred in this District.

4. DNA testing challenge: Osborne and Skinner the Supreme Court stated in Osborne and then
in Skinner that challenges to DNA testing procedures may be brought in a § 1983 action because
requesting access to testing does not necessarily imply the guilt or innocence of a defendant as the
defendant is not yet in possession of exculpatory evidence. Skinner vs. Switzer, 562 US. 521
Dist. Attorney’s Office for Third Judicial Dist. Osborne, 557 U.S. 52 (2009).
See also, Hall vs. Bellmon,935 F.2d 1106 at 1110 (10" Cir.1991) Rule that pro se litigant’s
pleadings are to be construed liberally and held to less stringent standard than formal pleadings
drafted by lawyers means that if court can reasonably read pleadings to state a valid claim on which

plaintiff should prevail, it should do so despite plaintiffs’ failure to cite proper legal authority, and

confusion of various legal theories, his poor syntax and sentence construction.
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Ground-I

TRIAL JUDGE ABUSE OF DISCRETION BY REFUSING TO SANCTION THE TULSA
POLICE DEPARTMENT AND / OR DISTRICT ATTORNEY OFFICE FOR THE BAD FAITH
DESTRUCTION OF THE PLAINTIFF BIOLOGICAL EVIDENCE WHICH WAS DONE IN
VIOLATION OF 22 O.S. § 1372(C)(1)-(3). THIS VIOLATION PROVES OKLAHOMA’S POST-
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PREVIOUS FEDERAL CIVIL ACTIONS OR APPEALS

The plaintiff has not filed any other actions in Federal Court for a Civil Rights Complaint
under 42 U.S.C.A § 1983 addressing these issues.
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THE PARTIES TO THIS COMPLAINT

A. The plaintiff, Ryan K. Smith, #643298, is a state prisoner, who resides at
the Lexington Correctional Facility, Lexington. Oklahoma. 73051.

B. The defendant, Steve Kunzweiler, District Attorney for Tulsa County, State

of Oklahoma, was working under color of state law when the allegations arose.

And is sued in his individual and official capacity. West v. Atkins, 487 U.S. 42 (1988).

The Defendant is a Resident of the State of Oklahoma. !

STATEMENT OF THE CASE

The plaintiff Ryan K. Smith, was tried by Jury and convicted of Robbery with a Firearm
Count-1 (21 O.S.§ 801) Burglary First Degree Count-2 (21 O.S. § 1431) Kidnapping
(21 O.S. § 741) Count-12 Kidnapping (21 O.S. § 741) Count-13 Kidnapping (21 O.S. § 741)
Count-14 Robbery with a Firearm (21 O.S. § 801) Count-15 Robbery with a Firearm
(21 O.S. § 801) Count-16 Assault while Masked or Disguised (21 O.S. § 1303) Count-17 In the
District court of Tulsa County Case no. Cf-2010-2554. The Trial Judge sentence the plaintiff to the
following: Count-1 20 years C.C, Count-2 20 years C.C., Count-4 1 0years probation C.S. to Count-
1, Count-12 10years probation C.C. to Count-4, Count-13 10years probation C.C. to Count-12,

Count-15 25 years C.S., Count-16 C.C. to Count-15 Count-17 10 years’ probation C.S. to

Count-4.

* Fed.R.Civ.P.8(a)(2) only requires a short and plain statement of the claim showing that the
pleader is entitled to relief;
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STATEMENT OF THE FACTS

On 06-20-2010 at about 2230hrs Stephen Rodolf, Christopher Gentile, and Joseph Gentile were

Victims of a home invasion robbery while at 2411 Owasso Place (Tulsa, Ok, Tulsa County).
Mr. Rodolf was expecting guests (Christopher and Joseph Gentile), so he left his garage door open.
Upon hearing the door to the garage open he walked to the garage to greet his friends. Mr. Rodolf
was met by three black males wearing ski masks and holding pistols. Mr. Rodolf was forced to the
ground by one of the robbers and a gun was placed to the back of his head. The other two robbers
ransacked the house. The robbers demanded money and the combination to Rodolf’s gun safe.
Rodolf gave the suspects the combination and directed the suspects to his wallet. Ten minutes into
the robbery Christopher and Joseph Gentile arrived. They were met by the robbers. Christopher
was pistol whipped and Joseph’s life was threatened by one of the robbers to gain the compliance
of Christopher. That both Joseph Gentile and Stephen Rodolf were bound and taken to the
bathroom. Christopher Gentile remained with the suspects as they looked through the kitchen for
duct tape to bind him. The robbers eventually used Christopher’s belt. Before they fled the robbers
stole wallets, Rodolf’s Lexus (Which was parked in the garage), many firearms, and large amounts
of ammunition. The Tulsa police were called to the crime scene and detectives process the scene
and collect physical evidence. approximately (18) days after the robbery On 07-07-10 Robert

Yerton the (Tulsa police lab latent print expert) was able to match a latent print from a steak knife

touched by one of the suspects. The print matched to William Harley
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Tottress TPD #191673.? The only person to implicate the plaintiff in the crimes charge was Eugena
Shantell Davis who was the sister to defendant W. Tottress she named the plaintiff and his brother
Byron Smith as the other two suspects in the case? On January 1“ 2010 the plaintiff appeared in
the Tulsa county court for arraignment and _ because the plaintiff was unable to afford counsel he
was appointed a public defense attorney Bryain Rail to represent him, however due to a conflict
of interest attorney Bryain was allowed to remove himself from the case,"
COURT PROCEDURES BEFORE JURY TRIAL
Before Jury trial the plaintiff new attorney told the plaintiff based on the discovery the states

fingerprint expert R.Yerton was going to testify that the latent fingerprint taken off the mojo

magazine and off the table and/or glass table top was going to match to the plaintiff fingerprints

2 A warrant was issued for W.Tottress who was later arrested after being pull over driving his
car. Items from the robbery was found inside his car. The state filed an information against W.
Tottress who was charged with four counts see case no. Cf-10-2554.

3 During the Preliminary hearing E. Davis recanted her police report statements admitting that
she lied on the plaintiff and his brother because she was high on drugs and the Tulsa police
detectives was treating to charge in the case, and that she would eventually lose all her
children. See P.H. Tr. 9-30-10 & 12-17-10 at 50-59 amended to Compel Production of Buccal
Swab/DNA sample/fingerprints at line,22-25 in case no. cf-10-2554. The trial court order the
defendants and Eugenia Shantell Davis to Provide buccal swab and finger prints to eliminate her
as one of the three suspects who enter inside the home, All charges were later drop against E.
Davis and defendant Byron Smith.

4 On September 30* 2010 the Petitioner wrote a letter to the trial Judge explaining that his case
was in Jeopardy because during the preliminary hearing attorney Bryain Rail Identified the
Petitioner in front of the witnesses and/ or victim’s in the case who would eventually be testifying
against the Petitioner and because identification of the three suspects was and issue the
Petitioner claim he was prejudice by the in court identification see the Petitioner sworn affidavit
filed March 16'* 2011 see, Attorney Christopher M. Gault Motion to suppress in-court
identification in case no.Cf-2010-2554.
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so under the advice of counsel the plaintiff enter a plea of guilty. But see, the plaintiff transcript of
hearing on motion to withdraw plea held on October 28, 2011 in case no. Cf-2010-2554.
PROCEDURES ON APPEAL AFTER THE PLAINTIFF CONVICTION.

1. On May 25" 2023 the plaintiff filed his first motion for post-conviction DNA testing in Cf-
2010-2554 with (sworn affidavit of innocents).

2. On June 5" 2023 the state responded to the plaintiff motion for DNA testing stating they had
destroyed all the biological material evidence in the plaintiff case.

3. On June 14"" 2023 the plaintiff filed a response brief to the states response to the plaintiff motion
requesting first post-conviction DNA testing and motion to dismiss for the destruction of biological
material evidence.” See criminal docket sheet in Cf-2010-2554.

4. On September 18'" 2023 the trial judge denied the plaintiff DNA testing hearing in which the
plaintiff argued was and abuse of discretion.

5. On September 26" 2023 the plaintiff filed his petition-in-error. Arguing that the Tulsa police
acted in bad faith by destroying his biological evidence Citing, Arizona vs. youngblood,108 S.ct
1072 and Jail house Informant testimony, Ctr. On Wrongful Convictions, Nw. Univ. Sch. of
Law, The Snitch System 3 (2005) °

6. The OCCA denied the plaintiff petition-in-error. And that it is from the above ruling the plaintiff
now file his civil rights law suit pursuant to 42 U.S.C § 1983.

5 On June 12" 2023 after plaintiff discovered that his DNA / biological evidence had been
destroyed. The plaintiff filed his motion requesting sanctions for the lost and / or destruction of his
biological evidence in bad-faith by the Tulsa police department. The plaintiff asked the trail judge
to grant a new trial, modification of his sentence, and / or to dismiss his case with prejudice. The
trial court never made a ruling upon plaintiff motion for sanctions in which the plaintiff is also
arguing was and (Abuse of Discretion).

6 The third category of evidence that has been consistently identified as a leading cause of
wrongful convictions is the testimony of a Jailhouse snitch and/or cooperation witness, the
concern over the accuracy and reliability of this testimony is well justified among the first 200
DNA exonerations, 35 innocent people were wrongly convicted based in part on false testimony
provided by these “incentivized” government witnesses. A comprehensive study of 111 death
row exonerations over a 30-year period found that jailhouse snitch testimony figured
prominently in nearly 50% of all death row exoneration. Ctr. On Wrongful Convictions, Nw. Univ.
Sch. of Law, The Snitch System 3 (2005)
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Ground-I:

TRIAL JUDGE ABUSE OF DISCRETION BY REFUSING TO SANCTION THE
TULSA POLICE DEPARTMENT AND / OR DISTRICT ATTORNEY OFFICE FOR
THE BAD FAITH DESTRUCTION OF THE PLAINTIFF BIOLOGICAL EVIDENCE
WHICH WAS DONE IN VIOLATION OF 22 O.S. § 1372(C)(1)-(3). THE VIOLATION
PROVES OKLAHOMA FIRST MOTION FOR POST-CONVICTION DNA ACT. IS
UNCONSTITUTIONAL AND IN VIOLATION OF THE PLAINTIFF PROCEDURES
DUE PROCESS RIGHT WHICH IS PROTECTED BY THE FOURTEENTH
AMENDMENT OF THE UNITE STATES CONSTITUTION.

Pursuant to U.S. vs. Banks,2023WL109968 (Abuse of discretion) by a trial court is any
unreasonable, unconscionable and arbitrary action taken without proper consideration of facts and
law pertaining to matter submitted. And / or a judgment or decision by an administrative agency
or judge which has no foundation in facts or in law. In the present case: The plaintiff was within
the eligibility and procedures for post-conviction DNA Testing. 22 O.S. §§ 1373.1-1373.7 et seq.
But argues Oklahoma’s first motion for post-conviction DNA statute is unconstitutional because it
provides an unconstitutional inadequacy to access biological material evidence. Plaintiff also
contends that the states procedures for considering his DNA testing request violated fundamental
fairness due to the trial court “Abuse of Discretion” in its refusal to sanction the Tulsa police
department for their bad faith destruction of the plaintiff biological material evidence in violation
of 22 O.S. § 1372 et seq. See Oklahoma biological evidence preservation statute which reads as
follows:

A. Acriminal justice agency having possession or custody of biological evidence from a
violent felony offense, as defined by subsection F of Section 982 of Title 22 of the

Oklahoma Statutes, Shall retain and preserve that biological evidence for such period of
time as any individual convicted of that crime remains incarcerated.

B. As used in this Section:
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1. “Biological evidence” means physical evidentiary material originating from the human

body from which a nuclear DNA profile or mitochondrial DNA sequence can be obtained

or representative or derivative samples of such physical evidentiary material collected by

a forensic DNA laboratory; and

2. DNA” Means deoxyribonucleic acid.

C. The criminal justice agency in possession or custody of biological evidence may

destroy or otherwise dispose of the biological evidence before the expiration of the period

of time described in subsection A of this section only if:

1. The agency notifies any person who remains incarcerated in connection with the

case. The Oklahoma indigent defense system DNA Forensic Testing Program if still
applicable, and any counsel of record or public defender organization for the judicial

district in which the judgment of conviction for such person was entered, of:

a. the intention of the agency to destroy the evidence, and

b. the provisions of the DNA forensic Testing Act, if still applicable;

2. No person submits a written objection to the destruction of the biological evidence to

the agency within ninety (90) days of receiving notice pursuant to paragraph 1 of this
subsection; and

3. No other provision of law requires that such biological evidence be preserved.

The Plaintiff argument is clear that the state of Oklahoma has created an arbitrary statutory scheme
which provides an unconstitutional discretionary mechanism rendering the constitutional
inadequacy to access biological material evidence suitable for DNA testing. More specifically, the
above statute requiring its courts to order DNA testing only if such court finds certain facts

including (A) Reasonable Probability that the plaintiff would not have been convicted if
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favorable results had been obtained through DNA testing at the time of the “original
prosecution” is unconstitutional due to the bad faith destruction of the plaintiff biological
evidence prior to DNA testing.

A. “Biological Material Evidence” Did Exit In This Case. However, the Evidence
Demonstrating The Chain of Custody Is Insufficient For DNA Testing due to the
bad faith destruction of plaintiff biological evidence by the Tulsa police department. '

The following facts transpired:

1. On May 25"" 2023 the plaintiff filed his first motion for post-conviction DNA testing in Cf-
2010-2554 with (sworn affidavit of innocents).? The evidence that plaintiff requested to have re-
check with newer DNA technology was the evidence allegedly belonging to the plaintiff as
stipulated by the state fingerprint expert Robert Yerton to wit: One mojo magazine off the table
and/or glass table top, a safe, and additional items against the plaintiff such as Item #12 Swab
“Safe Key Pad”, Item #17 Swab Gear Shifter, Item #15 Swab Palm Print, and #30-35 Swab
Fingerprints PR# BE6525.

2. On June 5" 2023 the state responded to the plaintiff motion for DNA testing stating they
destroyed all the biological material evidence in plaintiff case.

3. On June 14!" 2023 the plaintiff filed a response brief to the states response to the plaintiff
motion requesting first post-conviction DNA testing and motion to dismiss for the destruction of
biological material evidence. Citing Arizona vs. youngblood,108 S.ct 1072 See criminal docket
sheet Cf-2010-2554

4, On September 18" 2023 the trial judge made its ruling and denied the plaintiff DNA hearing.
So did the OCCA in which the plaintiff is now arguing was and abuse of discretion.

1 Pursuant to 22 O.S. § 1373.1 Under the “Post-Conviction DNA” act. “Biological Material”
means the contents of a sexual assault evidence collection kit as well as any item that contains
or includes blood, semen, hair, saliva, skin tissue, fingernail scrapings or parings, bone, bodily
fluids or other identifiable biological material that was collected as part of the criminal
investigation or may reasonably be used to incriminate or exculpate any person for an offense
and that may be suitable for forensic DNA testing. This definition applies whether the material
was Catalogued separately including, but not limited to, on a swab, a slide or on any other
evidence.

? See Wilkinson vs. Dotson, 544 U.S. 74 (2005). Plaintiff is not attacking his conviction, only the
inadequacy of access to DNA evidence to demonstrate his innocence with new evidence. see also,
Reed vs. Goertz, Justice Kavanaugh, writing for the Supreme Court, recently explained: “even
though a state-court decision is not reviewable by lower federal courts, a statute or rule
governing the decision may be challenged in a federal action. 143 S.ct 955, 960 (2023).
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B. THE REASON WHY THE TRIAL JUDGE SHOULD HAVE ENFORCE
SANCTIONS.

On September 18" 2023 During the plaintiff DNA hearing defense counsel argued that no one has
notified the plaintiff that his biological material evidence would be destroyed and there forth
prohibited his rights to file a written objection to the destruction of his biological material
evidence which is a clear violation of the plaintiff procedure due process rights under the
14" amendment of the united States Constitution.’ In support of the plaintiff argument, defense
counselor submitted mailing post and posting exhibits in case no. CV-14-00491. Which reads in
part: The affiant is a sergeant of the Tulsa police department and in the month of May he served a
copy of the notice setting hearing the application filed with the court itemizing all property as
disposed of and turning beyond that there is a legal notice that was posted. It shows four names on
the second column. None of those names are the plaintiff and there is another affidavit and mailing,
public posting. Again, by the sergeant of Tulsa Police Department. This was in July of 2014. And

it shows Sean McDaniel and a Salinda Mattingly as the only individuals listed. The plaintiff's

3 A liberty interest has been established for plaintiff under 22 O.S. § 1373.5(A) et seq as “it
allows for the vacation of a conviction, or other appropriate relief, upon a showing of favorable
DNA test results” and because this statute creates a liberty interest in demonstration innocence
with new evidence. The plaintiff procedure right is protected under the 14" amendment of the
United States constitution. See, United State vs. Rivera, 900 F.2d 1462 (10" cir.1990) The due
process clause of the Fourteenth Amendment prohibits a state form “depriving any person of

life, liberty, or property without due process of law. “See also United States Constitution. amend.
XIV, § 1. Plaintiff here challenges the constitutionality of Oklahoma’s post-conviction DNA act, a
statute setting forth procedures for post-conviction relief relating to DNA testing while there is no
federal constitutional right for a convicted defendant to obtain evidence for post-conviction DNA
testing, Oklahoma has statutorily created such a right See, 22 O.S. §§ 1373.1-1373.7 supra. and as
a result, procedural due process requires that the state provided procedures be adequate to protect
that substantive right. See, Skinner, 562 U.S. 525 See also Dist. Atty’s Office for the third
Judicial. District vs. Osborne, 557 U.S. 52,67-69 (2009). To establish a procedural due process
claim, plaintiff must allege facts demonstrating (1) a deprivation by the state of a protected interest
in life, liberty, or property, and (2) an in-adequate state process See, Reed vs. Guertz,598 U.S.
230 (2023).
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name is not listed. There is no other service or affidavit of service provided in that case showing
the plaintiff was given notice. Following that page, we have the application for disposition of
unclaimed personal property in case no. Cv-22-0015. And then attached to that is a copy of the
court docket which is a printout from (OSCN), which is just there to show that the only service
given was an affidavit of publication and a proof of publication on March 11" and March 30" of
2022. A copy of the affidavit of publication which lists a number of names and in those names the
plaintiff does not appear. See (September 18'" 2023 defense counsel argument at Pages 10-11 as
(exhibit-A). The state responded by saying pursuant to 22 O.S. (2013) § 1373.4(3) in order to
obtain any type of DNA testing, one or more of the items of evidence that convicted person seeks
to have tested still exists. The fact that we have no evidence that has been preserved in this case
and was destroyed the plaintiff can’t get DNA testing. And that the Oklahoma statute does not
provide any type of remedies for this violation and for this reason and the fact the plaintiff has
enter a plea of guilty he should be denied DNA testing. See (September 18'" 2023 D.A. arguments
at Pages 17-18 (exhibit-A). Defense counselor responded by saying that Oklahoma DNA statute
does not discriminate against a criminal defendant who enter a plea of guilty, in fact the statute
§1373.2 states clearly upon a plea of guilty, not guilty or nolo contender a criminal defendant
can come back at a later date and challenge his or her conviction to prove his innocents and this is
exactly what the plaintiff has done in this case and ask for sanctions to be filed against the

Government.’ The trial Judge overruled the defense counselor request in which the plaintiffis now

4 Defense counsel also provided the court with a sworn affidavit from his defense witness Gary
Humor a chief forensic DNA expert from California. Which in the opinion there is a “reasonable
likelihood” that the plaintiff would obtain a more probative results with today’s newer
techniques which includes smaller and more sensitive loci for obtaining DNA trace amounts of
samples and that this widespread standard was adopted in 2017. Which is significantly more
probative than those previous methods used by the states DNA experts in this case.

See (Sep 18 2023 Gary Humor Tr. testimony at 5-7 (Exhibit-A).

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arguing was an “(Abuse of Discretion)”. See Banks,2023WL109968 Supra. The plaintiff also
argues the trial judge had committed another (Abuse of discretion) by ruling that the plaintiff did
not meet the Oklahoma post-conviction DNA (Reasonable Probability) requirement of
§ 1373.4(A)(1) this comes right after the trial judge had become aware that the destruction of
plaintiff biological evidence was done in bad faith. And the destruction of biological evidence
was done by the Tulsa Police Department and in violation of § 1372 et seq’.

C. PROOF OF THE TULSA POLICE DEPARTMENT BAD-FAITH HISTORY OF
DESTROYING THE PLAINTIFF BIOLOGICAL EVIDENCE.

5 While a growing number of innocence protection laws give courts the broad authority to impose
“appropriate sanctions See, Haw.Rev.Stat.§13-4240 for the destruction of biological evidence.
The innocence protection statutes that have been enacted in some jurisdictions prescribe
criminal penalties as the sole remedy for the wrongful destruction of biological evidence. See,
D.C. Code Ann § 22-4134(d) (LexisNexis Supp.2008) (Whoever willfully or maliciously destroy,
alters, conceals, or tampers with evidence that is required to be preserved under this section
with the intent to (1) impair the integrity of that evidence, (prevent that evidence from being
subjected to DNA testing, or (3) prevent the production or use of that evidence in an official
proceeding, shall be subject to a fine of $100.000 or imprisoned for not more than 5 years or
both”.) Even in the absence of an express grant of statutory authority to impose sanctions, courts
have the inherent “supervisory power” to impose sanction on the government for the wrongful
destruction of evidence in criminal cases. see United States vs. Baca, 687 F.2d 1356, 1359 (10"
Cir. 1982) see also, United States vs. Loud Hawk, 628 F.2d 1139,1152 (9 Cir.1979) Prosecutors
are ultimately responsible for ensuring that this discoverable evidence is properly preserved and
can be produced in court. This obligation extends to law enforcement officers, property clerks,
evidence custodians, lab technicians, and all others directly responsible for the storage and
retention of evidence. Although the State of Oklahoma DNA statute doesn’t have a remedy for
its States destruction of evidence in their criminal statute the courts do have the inherent
supervisory power to impose sanction on the government for the wrongful destruction of
evidence in a criminal case. See, Baca, 687 F.2d at 1359 Supra. See also Arizona vs.
youngblood,108 S.ct 1072 severely restricted the constitutional remedies available when
evidence is wrongly destroyed by the government. see also, People vs. Sam’s, 658 P.2d 157
(Colo.1984) holding that in determining sanctions the degree of governmental culpability in
causing the loss or destruction of evidence is an appropriated consideration)” See also, Anna
Maria Cowdrey vs. The city of Tulsa and Whitney Allen, Christopher Stout & Anthony Cellino,
case no. 05-CV-461-TCK-PJC at (pages-7,8-10,11,16-17,21-24, exhibit-B). In the case of Anna her
defense counselor argued that the Tulsa police department has.a long history of falsifying, losing
and destroying evidence.

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In this case, Defense Counselor was able to go back through those civil claims to see what the
city of Tulsa did to destroy the evidence and show this Court that they made no effort to contact
any of the individuals that are required to be contacted. They did not send a notice to any of the
individuals. In fact, they published their service by posting in a public newspaper and the
newspaper ads that they publish do not even include the plaintiff's name. So, in all cases, this
evidence was destroyed without notice and in violation of Oklahoma’s law regarding tht these
materials be retained so that they could be used for this specific purpose and that is coming from
Title 22 O.S. § 1372. So, your Honor, with permission again, | would ask to submit or stipulate to
the records of the court clerk from CV-2014-491 as well as CV-22-151. | have copies of the
affidavits of mailing and public posting in both of those cases as a joint exhibit. And | would ask
that the Court allow submission of those as evidence that these records were destroyed and not
destroyed in compliance with the statute. (Page 8-10 exhibit-A) Defense counselor made an offer
of prove as followed: The first part of this exhibit is an affidavit of mailing post and posting in
CV-14-00491. The affiant is a sergeant of the Tulsa Police Department and states that in 2014, in
May, they served a copy of the notice setting hearing the application filed with the court,
itemizing all property as disposed was as he said, post it. There is no statement of mailing there
on page 4. Turning beyond that, you'll see a copy of the legal notice that was posted. It shows
four names on the second column. None of those names are Plaintiff name. On the following
page, we have another affidavit and mailing, public posting. Again, sergeant of Tulsa Police
Department. This was in July of 2014. If you will go then three more pages beyond that you will
see another notice, publisher’s affidavit, which shows Sean McDaniel and Salinda Mattingly as

the only individuals listed. Plaintiff is not listed. There is no other service or affidavit of service

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provided in that case whatsoever and nothing to indicate that any notice was given to the Plaintiff
by the city of Tulsa. Following that page we have the application for disposition of unclaimed
personal property in CV-22-0015. And then attached to that is a copy of the Court’s docket which
is a printout from OSCN, which is just there to show that the only service given was an affidavit
of publication and a proof of publication on March 11" and March 30" of 2022. | have attached
to that a final page, a copy of the affidavit of publication which lists a number of names and in
those, the plaintiffs name does not appear. So even if they have published notice, they didn’t
put plaintiff name on it, he would have no way of knowing that this notice pertained to him or
the evidence in his case. So, what does that all mean for us? Well, what it means is that the city,
in this case, destroyed evidence which it has a legal duty to preserve. A duty to preserve because
the state chose to grant right to individuals, like plaintiff, who pled guilty to crimes who later
determined that they should and could test the DNA evidence collected to determine their
innocence. In this case, we had no DNA evidence inclusively linking plaintiff to the crime. We had
three potential pieces of evidence which they could not exclude him. | do find it interesting they
were able to fully exclude plaintiff brother who’s charged as a codefendant and subsequently
dismissed his case. But at the time they could not exclude plaintiff, so he was left knowing that
that is something that could potentially be introduced and has been introduced in cases in the

past to say it could be him, you cannot exclude him, it also could be him.® Had he been able to

6 Additionally, your Honor, as | was going through the record of pleadings, | found something
that | think is particularly interesting and important with regards to my client’s innocence and
his guilt. On the State’s Exhibit 1, on the front page, you will see the very top entry and | do
have a copy for this Court if he would prefer to see that just because it’s a little bit streamlined.
The court: if you could just point me to it. I’ve got everyone’s briefs and the exhibits that were
attached Defense Counselor: The State’s Exhibit 1. It’s marked number 1.

The court: You’re referring to the firearm, the Sig Sauer Firearm?

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test this evidence then he may be conclusively able to establish that no DNA evidence at the
scene whatsoever linked him to this crime. That is evidence of innocence. That is evidence of
acquittal. The fact that he was there in that house, the eyewitnesses who were there that
testified he may have touched numerous things, including a keypad, safe, which was one of the
items we’d liked to have tested, and to have it exclude him is to say that he wasn’t there doing
that at least from a biological evidence perspective. So, it would be extremely material to his case

and to his defense to be able to show today with these certain markers in biological testing that

Defense Counselor: Yeah, | am. And you will notice that on August 7 of 2011 now my client pled.
And | believe it was August 11" ,2011, is when Plaintiff entered a plea of guilty. This indicates
that on August 7‘, four days before then, the police department recovered one of the Stolen
weapons in possession of Antoine Hankins, somebody not named in this suit, not associated with
it, and totally unknown to the Plaintiff. They recovered property, the stolen property, in
possession of an entirely different individual four days before the plea. And I’m willing to say and
| think plaintiff will testify to that, he would never would have entered that plea. If someone had
said, by the way we found the evidence in possession of a different person, that’s evidence of
innocence, is it not? | think that would go very strongly towards a jury to indicate a lack of guilt
in this case. So, what do we do in this situation where it’s been destroyed? Your Honor, there is
precedent when the agency has acted in bad faith with spoliation of evidence, that a jury
instruction can be given that the evidence is to be presumed in favor of the plaintiff. In this case,
because the evidence was wired to be held as not, because that would otherwise take a right
from plaintiff which he has at law and because the State is presumed to know or not the State,
the city. | apologize to the state for that comment. The city is presumed to know the law and are
expected to follow it and they have not. But that is in bad faith and that this court | would request
to presume that the evidence, if tested, would, like the remaining DNA evidence in this case,
come back in favor and exclude plaintiff. That combined with what we see on the State’s exhibit-
1, finding possession of the materials with Antoine Hankins, is strong evidence that a jury
reasonably could find plaintiff not guilty of this crime. And something | omitted to state, but |
would ask that for here now, none of the evidence recovered was recovered at plaintiff residence
or in his possession. It was recovered at one of the co-defendants but not in plaintiff direct
possession So | believe that creates a reasonable probability of innocence, one that a jury could
reasonably find not guilty and if presumed, | think, would be reason to grant plaintiff a new trial.
So we’d ask that this Court consider approving this motion presuming that the evidence would
come back in favor of plaintiff and grant him a new trial on it or in the alternative, if that be too
much, to consider doing a modification of his sentence to reflect the evidence and to reflect the
loss of his ability to seek post-conviction relief. See, September 18" post-conviction hearing
(exhibit-A) and attach exhibits at the end of the brief.

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he was not there and present at the scene. That’s a marketed change from in the past and what
has been done. The state gave these individuals like plaintiff, who pled guilty, but may, in fact,
still be innocent. Otherwise, it would be superfluous to even, you know, to even include pleas of
guilty in this, So they understand that people may plead guilty and then later, still claiming
innocence, realize that they want to try and test and prove they’re innocent. And that’s exactly
what plaintiff is doing here. Unfortunately, his right, a right created by statute, in law, is taken
from him. He cannot access, he cannot obtain these materials. He cannot have them tested and
as a consequence, he can’t prove his innocence because they destroyed materials that they
should have or did know because we’re presumed with knowledge of the law, so presumed to
know that they have a duty to preserve it and then they didn’t. Not only did they not preserve it,
they plainly failed with regards to notice, not even coming close to providing notice to any of the
individuals which the statute specifically requires notice be given. So in doing that, they have not
given him the opportunity to pursue an avenue of relief that may in fact have shown his
innocence. See Arizona vs. Youngblood, 108 S.ct 1072. Many state innocence protection statutes
give courts the power the impose appropriate sanctions when biological evidence needed for
postconviction DNA testing is wrongly destroyed by the government. Constitutional claims based
on wrongful evidence destruction are governed by the virtually insurmountable “bad faith”
standard articulated in Youngblood, 108 S.ct 1072 supra. The wrongful destruction of DNA
evidence in contravention of state innocence protection laws, however, should be governed by
the standards used to adjudicate other “access to evidence” violations in criminal cases, including
disclosures mandated by the clues of criminal procedure, in applying this analysis to the wrongful

destruction of evidence needed for postconviction DNA testing, courts should give due weight to

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the exclusive power of DNA evidence to discredit other forms of evidence and prove identity to
a scientific certainty. Further, in evaluating the strength of the government’s evidence at trial,
courts must carefully scrutinize guilt determinations based largely or exclusively on evidence that
has been the predominate cause of wrongful convictions, including stranger eyewitness
identifications, non-DNA forensic evidence, uncorroborated confessions, and jailhouse informant
testimony. Applying these critical lessons learned from over 200 exonerations to the sanction’s
determination, appropriate sanctions for the wrongful destruction of DNA evidence include a

sentence reduction, a new trial, or dismissal. The plaintiff is not attacking his conviction, only

the inadequacy of access to DNA evidence to demonstrate his innocence with new evidence. See

Dotson, 544 U.S. 74 (2005). Supra see also, Goertz,143 S. ct 955 Supra.

D. THE TULSA POLICE DEPARTMENT HISTORY OF DESTROYING AND / OR
MISHANDLING CIVILIANS’ DNA/ EVIDENCE INSIDE THEIR PROPERTY ROOM.

In the case of Anna Maria Cowdrey vs. The City of Tulsa and Whitney Allen, Christopher
Stout and Anthony cellino the plaintiff filed a trial brief in case no. 05-CV-461-TCK-PJC.
(exhibit-B) And also, and amended complaint which contains counts for: Malicious prosecution;
Abuse of process; Deprivation of constitutional rights & Malicious wrong, 76 O.S. § 6; intentional
infliction of Emotional Distress; Negligent Hiring, Supervision & Retention: Tortious interference
with employment and intentional misconduct causing harm.

The Facts of Anna Maria Cowdrey case.
Cowdrey was a Tulsa Police Officer for 14 years. She received commendation, good
performance ratings and was described as doing an excellent job, a promising officer and a good
detective. In April, 2003, Cowdrey was working in the Tulsa Police Property room when

allegations arose about missing money and items. A police report was completed that listed nine

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(9) suspects, including: Sgt. Whitney Allen (Property Room Supervisor), Cpl. Tracy Clark, Anna
Cowdrey, Bob Kurowski, James Poyner, Todd Henley, Brian Horry, Alan Terry and Scott
McQuirter’s. This report was assigned to Detectives Anthony Cellino and Christopher Stout for
investigation. City policy makers over saw, supervised and participated in the investigation and
prosecution of Cowdrey, including Police Chief Dave Been. The defendants fabricated
inculpating evidence, falsified misleading evidence, concealed, manipulated, mis-characterized
and misrepresented exculpating evidence concerning Cowdrey.

A. Fingerprints Evidence

1. “Neither Cowdrey or her criminal defense attorney were aware that her fingerprint
examination results were actually negative”, the results were represented to them as
“inconclusive” throughout the criminal prosecution.

2. Defendants police officers admit they were aware that Cowdrey’s finger print results were
“negative”. But, did not report Cowdrey’s negative results to the preliminary court. Instead,
defendant’s police and prosecution reports stated only the finger print results were negative “to
the known finger prints of the property room personal”, without mentioning Cowdrey’s name;

3. But, this same report (and all other prosecution and Supplemental reports) singles out
Cowdrey by name to state Fingerprint Examiner Yerton advised Cellino: “He was able to
eliminate all property room personnel as suspects except officer Anna Cowdrey.” This was a
wholly false representation to the preliminary court, Cowdrey’s criminal defense attorney and
Cowrey;

4, Further down the same page of the report, Stout and Cellino swore to the preliminary court
that “the fingerprint examination of Anna Cowdrey’s prints and the prints found on the envelopes
were inconclusive.”

5. No explanation or “clue “could be given by anyone why Stout and Cellino reported Cowdrey’s
fingerprint results as “inconclusive”.

6. Police Chief Dave Been testified that “inconclusive” meant Cowdrey could not be ruled out,
as were other property room personnel with this finger print evidence. “inconclusive” left
Cowdrey “dangling”.

7. Police Chief Dave been testified that early on the investigation narrowed down to Cowdrey
based on initials and finger print evidence. Testimony also exists that the fingerprint evidence
was useful; very important; “negative” results would have helped Cowdery; it would have taken
some light off her, Chief Been would have liked to have known in April or May, 2003, that the

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results were “negative” before the thing took off any more; Chief been does not think its alright
that Stout swore to the preliminary court that the finger print exam was “inconclusive” when it
was “negative”.

B. Post-it Note
Neither Cowdrey or her criminal defense attorney knew or were aware that a post-it note
containing her work computer access code had been found on or near her property room
computer or discussed by the investigators, Stout and Cellino, until discovery efforts in this civil
case. Cowdrey’s work computer access code was found on a post-it note near the computer she

used in the property room. Testimony exists that.

1. The post-it note was important evidence and it would have helped exonerate Cowdrey from
criminal charges;

2. The existence of the Post-note was not mentioned in any of Stout or Cellino’s reports,
Supplemental or prosecution reports;

3. The post -it note was not mentioned at preliminary hearing, the preliminary hearing court did
not hear or learn about the post-it note:

C. Evidence Hidden in Desk
Neither Cowdrey or her criminal defense attorney knew or were aware that pages were missing
from a property room inventory list used to prosecute her. Further, they were unaware that the
original of this inventory list (with all the pages) was not logged in as evidence and was hidden.
Testimony exists that:

1. Whitney Allen kept the original inventory list in her desk prior to and during
Preliminary hearing, then given to Tracy Clark to put in her desk;

2. The procedure was not followed regarding the inventory list, evidence was hidden and
it caused Cpl. Clark and Sgt. Holman (internal Affairs) concern;

3. This inventory list was important evidence, it linked Cowdrey to the missing items she
was prosecuted on;

4. Sgt. Cellino did not give Cowdrey or her criminal defense attorney the complete inventory
list and does not know how they would have gotten a copy;

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5. Chief Dave Been’s alarm bells went off’ when he first learned this evidence had been locked
in a desk drawer;
D. Missing Vault Keys
The key to the property room vault went missing about 3 to 6 months before Cowdrey was
accused of any wrong doing in the property room. Defendant Whitney Allen lost the vault key
and that meant that each individual listed as a suspect (property room personnel) had free access

to the monies kept in the vault. Testimony exists that:

1. Even though Cowdrey was accused of taking money from the vault, Whitney Allen did not tell
the preliminary hearing court that the vault key had been missing for some time;

2. According to Whitney Allen, the other property room personnel / suspects had access to the
vault and security doors leading to it;

E. Condition of Tulsa Police Department property room.

The poor condition of the police property room was concealed by defendant Whitney Allen.
Cellino and Stout ignored Cowdrey’s repeated efforts to inform them of the condition of the
property room before and after she was charged with crime(s) related to the property room.

The preliminary hearing judge was misled by the defendants (to this lawsuit) to believe that it was
significant Cowdrey’s hand writing was on a series of receipts. In fact, due to the very nature of
her job in the property room and the poor conditions of the property room, Cowdrey’s hand
writing was on many thousands of receipts. The property room conditions were such that
Cowdrey’s hand writing on any one or more receipts did not mean she had handled the item(s).
The defendants acted to conceal and mislead as to the actual property room conditions, and thus
“procedures” in place, in an improper effort to harm Cowdrey. Testimony exists that:

1. Whitney Allen led Stout and Cellino to believe that property room was performing its job and
she could find what she needed in it. She did not inform them of her 8/01 and 8/02 Memos stating

she couldn’t confirm what was actually in the property room;

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2. Both 8/01 and 8/02 memos would have been important so persons knew Allen could not
as certain what cash was in the property room.
Although criminal charges against Cowdrey were latter drop the fact remained that the property
room officers could not confirm what was actually in the property room due to the poor conditions
and the fact the defendants acted to conceal and mislead their department and / or the courts to
the actual property room conditions, proves bad-faith. And the fact when Chief Dave Been’s
became aware of the property room poor conditions, he did not place proper procedures to protect
the public and / or future criminal cases such as the one now before this Honorable Court. This
proves bad-faith See (Anna trial brief at 1-6 case no. 05-CV-461-TCK-PJC exhibit-B) See also
Baca,687 F.2d at 1359 supra. Compare with, Sam’s 658 P.2d 157 supra.
Conclusion
By the above argument and authorities, the plaintiff prays that this Honorable court will
dismiss the case with prejudice and / or modify the sentence or in the alternative reverse and
remand the case for a new trial.
Exhaustion of State Court remedies
Plaintiff has sought relief in the state courts to protect the plaintiff 14" Amendment United States
Constitutional right with that relief being denied. No other remedy exists at law to access the
biological evidence.
Certification and closing
I, Ryan K. Smith certify to the best of my knowledge, information, and belief this complaint: (1)
is not being presented for an improper purpose, such as to harass, cause unnecessary delay, or
needlessly increase the cost of litigation; (2) is supported by existing law or by anonfrivolous have
evidentiary support or , if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4)the Complaint otherwise
complies with the requirements of Rule 11.
VERIFICATION a
I, Ryan K. Smith, State under penalty of Perjury under the laws of Oklahoma that on this day
of 2024 that the facts within this instrument and the authenticity of all documents and exhibits

included in or attached to the above motion are true and correct to the best of my knowledge and
belief.

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CERTIFICATE OF MAILING

I, Ryan K. Smith, hereby certify that a true and correct copy of the foregoing instrument and all
exhibit/attachment’s in or thereto which this certificate is attached, was served upon the following
and below named, by placing the same in a sealed first-class mail on this Cl day ofhug 2024
Postage prepaid, via U.S. postal service to:

One original and copies to:

United States District Clerk’s Office

Mark McCartt, Clerk

Page Belcher Federal Bldg. and US Courthouse,
333 W 4" St, Rm #411

Tulsa, Oklahoma. 74103.

One Copy to:

Steve Kunzweiler

District Attorney

Tulsa County Court House
500 S. Denver Ave Suite #900
Tulsa, Oklahoma.74103

wee eo

Ryan K. Smith
D.0.C.#643298
Lexington Correctional Center
P.O. Box 260
Lexington, Oklahoma.73051

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